    Case 1:19-cv-01301-WMR Document 258 Filed 03/21/23 Page 1 of 7
USCA11 Case: 22-12512 Document: 27-1 Date Filed: 03/21/2023 Page: 1 of 5




                                                 [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 22-12512
                          Non-Argument Calendar
                          ____________________

       BELCALIS MARLENIS ALMANZAR,
                                 Plaintiff-Counter Defendant-Appellee,
       versus
       LATASHA TRANSRINA KEBE,
       a.k.a. Latasha Transrina Howard,


                               Defendant-Counter Claimant-Appellant,


       STARMARIE EBONY JONES,


                                                           Defendant,
    Case 1:19-cv-01301-WMR Document 258 Filed 03/21/23 Page 2 of 7
USCA11 Case: 22-12512 Document: 27-1 Date Filed: 03/21/2023 Page: 2 of 5




       2                      Opinion of the Court                22-12512

       KEBE STUDIOS LLC,


                                                     Defendant-Appellant.


                            ____________________

                  Appeal from the United States District Court
                     for the Northern District of Georgia
                    D.C. Docket No. 1:19-cv-01301-WMR
                           ____________________

       Before JORDAN, NEWSOM, and BRANCH, Circuit Judges.
       PER CURIAM:
               There are two issues here. One is whether the jury had suf-
       ficient evidence to hold appellants—Latasha Kebe and others—lia-
       ble for defamation (and other privacy torts) against appellee
       Belcalis Almanzar (better known as ‘Cardi B’). The other is
       whether the district court erred by excluding evidence. We hold
       that Kebe hasn’t preserved either issue for appeal.
                                        A
              “[A] party is not entitled to pursue a new trial on appeal un-
       less that party makes an appropriate postverdict motion in the dis-
       trict court.” Unitherm Food Sys., Inc. v. Swift-Eckrich, Inc., 546
       U.S. 394, 404 (2006). A party can make that kind of post-verdict
       motion under either Rule 50(b) or Rule 59 of the Federal Rules of
    Case 1:19-cv-01301-WMR Document 258 Filed 03/21/23 Page 3 of 7
USCA11 Case: 22-12512 Document: 27-1 Date Filed: 03/21/2023 Page: 3 of 5




       22-12512               Opinion of the Court                        3

       Civil Procedure. See id. at 396 (noting that the respondent filed
       neither a Rule 50(b) nor a Rule 59 motion). Rule 50(b) “sets forth
       the procedural requirements for renewing a sufficiency of the evi-
       dence challenge after the jury verdict and entry of judgment.” Id.
       at 400. Rule 59 allows district judges to order new trials “for any
       reason for which a new trial has heretofore been granted in an ac-
       tion at law in federal court.” Fed. R. Civ. P. 59(1)(A). When a party
       fails to invoke these rules in the district court, we “ha[ve] no au-
       thority to consider [an] appeal from the jury verdict.” Hi Ltd.
       P’ship v. Winghouse of Fla., Inc., 451 F.3d 1300, 1302 (11th Cir.
       2006).
              Defendant Latasha Kebe asks for a new trial, saying that
       there was insufficient evidence for the jury verdict against her. But
       as she all but admits, she didn’t make either of the required post-
       verdict motions in the district court. As a result, we have no au-
       thority to consider her insufficiency-of-the-evidence argument on
       appeal.
               Kebe’s response is unavailing. She seems to assert that she
       can seek a new trial on appeal not because she did so below, but
       rather because she didn’t. She seeks to distinguish her case from
       Unitherm on the ground that, unlike the losing party there, she
       didn’t even make a pre-verdict insufficiency-of-the-evidence mo-
       tion, let alone a post-verdict one. So while she apparently (and cor-
       rectly) accepts that making one pre-verdict insufficiency-of-the-ev-
       idence motion isn’t enough to preserve the right to challenge the
    Case 1:19-cv-01301-WMR Document 258 Filed 03/21/23 Page 4 of 7
USCA11 Case: 22-12512 Document: 27-1 Date Filed: 03/21/2023 Page: 4 of 5




       4                       Opinion of the Court                 22-12512

       sufficiency of the evidence on appeal, she seems to think that one
       can preserve that right by making no insufficiency motions at all.
              That is incorrect. Under Unitherm, a party “forfeit[s] its
       right to [seek a new trial] on appeal” if it “never sought a new trial
       before the District Court.” 546 U.S. at 404. The only way to seek
       a new trial before the district court is through a post-verdict mo-
       tion; a pre-verdict motion won’t do. Id. (explaining that a party
       can’t seek a new trial through a pre-verdict motion). So Kebe gains
       nothing by pointing out that she never made a pre-verdict insuffi-
       ciency-of-the-evidence motion. All that matters is that she “never
       sought a new trial before the District Court” through a post-verdict
       motion and has “thus forfeited [her] right to do so on appeal.” Id.
                                         B
               Kebe also failed to preserve her evidentiary arguments. “[A]
       party cannot argue an issue in its reply brief that was not preserved
       in its initial brief.” Tallahassee Mem’l Reg’l Med. Ctr. v.
       Bowen, 815 F.2d 1435, 1446 n.16 (11th Cir.1987). An appellant fails
       to preserve an issue when, in her opening appellate brief, she “ei-
       ther makes only passing references to it or raises it in a perfunctory
       manner without supporting arguments and authority.” Sapuppo
       v. Allstate Floridian Ins. Co., 739 F.3d 678, 681 (11th Cir. 2014). “An
       appellant’s brief must include an argument containing ‘appellant’s
       contentions and the reasons for them, with citations to the author-
       ities and parts of the record on which the appellant relies.’” Singh
       v. U.S. Atty. Gen., 561 F.3d 1275, 1278 (11th Cir. 2009) (quoting
       Fed. R. App. P. 28(a)(9)(A)) (emphasis added). “If an argument is
    Case 1:19-cv-01301-WMR Document 258 Filed 03/21/23 Page 5 of 7
USCA11 Case: 22-12512 Document: 27-1 Date Filed: 03/21/2023 Page: 5 of 5




       22-12512                Opinion of the Court                          5

       not fully briefed (let alone not presented at all) to the Circuit Court,
       evaluating its merits would be improper both because the appel-
       lants may control the issues they raise on appeal, and because the
       appellee would have no opportunity to respond to it.” Access
       Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1330 (11th Cir. 2004).
              Kebe didn’t adequately brief her challenges to the district
       court’s evidentiary rulings. Specifically, she never tells us where in
       the 5500-page record the district court’s alleged errors can be
       found. That lapse violates the rule that appellants must identify the
       “parts of the record on which [they] rel[y].” Singh, 561 F.3d at 1278
       (quoting Fed. R. App. P. 28(a)(9)(A)). Because Kebe’s brief falls well
       short of what we require, she has abandoned this argument.
              AFFIRMED.
     Case 1:19-cv-01301-WMR Document 258 Filed 03/21/23 Page 6 of 7
 USCA11 Case: 22-12512 Document: 27-2 Date Filed: 03/21/2023 Page: 1 of 2


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
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                                         March 21, 2023

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 22-12512-DD
Case Style: Belcalis Almanzar v. Latasha Kebe, et al
District Court Docket No: 1:19-cv-01301-WMR

All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.
Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with
FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
timely only if received in the clerk's office within the time specified in the rules. Costs are
governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested
Persons a complete list of all persons and entities listed on all certificates previously filed by
any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
reheard must be included in any petition for rehearing or petition for rehearing en banc. See
11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
compensation for time spent on the appeal no later than 60 days after either issuance of mandate
or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
system.

Pursuant to Fed.R.App.P. 39, costs taxed against the appellants.
    Case 1:19-cv-01301-WMR Document 258 Filed 03/21/23 Page 7 of 7
USCA11 Case: 22-12512 Document: 27-2 Date Filed: 03/21/2023 Page: 2 of 2



Please use the most recent version of the Bill of Costs form available on the court's website at
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                                                       OPIN-1A Issuance of Opinion With Costs
